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 Note: The Clerk must not refuse to file a paper solely because it is not in the form
 prescribed by these rules or by a local rule or practice. Fed. R. Civ. P. 5(d)(4)

                      UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA


 CLINTON BROWN,                              CASE NO. 2:22-cv-09203-MEMF-KS
              Plaintiff,                     Plaintiff’s Reply to Defendant’s
       vs.                                   Opposition to Motion for Deposit
 CLARK R. TAYLOR, AICP, THE                  and Distribution
 LOS ANGELES COUNTY                          Judge: Honorable Maame Ewusi-
 DEPARTMENT OF REGIONAL                      Mensah Frimpong
 PLANNING,                                   Magistrate Judge: Karen L.
              Defendant.                     Stevenson
                                             Action Filed: 12/17/2022
                                             Action Due: 01/12/2023


         PLAINTIFF’S REPLY TO DEFENDANT’S OPPOSITION TO
              MOTION FOR DEPOSIT AND DISTRIBUTION

 NOTICE TO THE COURT, contrary to the Defendant’s assertions, Plaintiff is
 seeking a deposit and distribution of interest, not compensation pursuant to 40
 U.S.C. § 3116(a)(2). (Emphasis added). Interest is a question of fact for the trial
 Court, not the jury, as the right of interest rests upon the Fifth Amendment. The
 authority of depositing and distributing interest does not rest on the Federal Rules


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 of Civil Procedure, it rests upon the Constitution. A Federal forum was chosen by
 the Plaintiff to facilitate a speedy, just, and inexpensive resolution to the claim at
 bar. (42 U.S.C. § 1983).
                                 Reply to Argument A
 F.R.C.P. 71.1(a) provides a framework for Federal Courts, except as this rule
 provides otherwise, for eminent domain cases. (Emphasis added). It would
 presumably be immaterial to the scales of justice whether the Plaintiff or the
 Defendant is the government.
 Defendant received service under penalty of perjury by a servicer. (Dk. 20).
 Defendant notified his superiors of such service. (Dk. 14, Attachment #1).
 Defendant filed a late Answer despite the service. (Dk. 10). Defendant’s,
 argumentum ad nauseam, about service is frivolous.
                                 Reply to Argument B
 Defendant’s misuse of F.R.C.P. 7(b) to conflate motions is unjustifiable. (Dk. 43,
 4, lines 3-5; 5, lines 9-10). Regardless, if Plaintiff’s referenced motion is granted or
 not, F.R.E. 201(b)(2) and F.R.E. 201(c)(2), requires the Court to justifiably
 consider the referred to motion without regard to the allegations and prejudices by
 the Defendant. (F.R.E. 102).
 In a rich twist of irony, the Defendant cites Penn Cent. Transp. Co. v. New York
 City, 438 U.S. 104, 98 S. Ct. 2646 (1978) and Lingle v. Chevron U.S.A. Inc., 544
 U.S. 528, 125 S. Ct. 2074 (2005) to support their argument that the Plaintiff lacks a
 prima facie claim. Defendant's own statement in the public record, filed in Federal
 Court proclaims the County, “has the right to prohibit construction of residential
 and/or commercial structures upon the property.” (Dk. 43, 4, lines 12-13). The
 record is clear that not even an environmental project (i.e., solar) will be permitted
 on the property. No matter what the Plaintiff dreams for the property it will be
 prohibited by the government. If that is not a Taking, then what is?

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                                Reply to Argument C
 The Defendant's attempt to prove that the property was in a SEA zone at the time
 of the purchase by relying on a publicly available GIS-NET system website, while
 simultaneously rejecting the County's own tax assessment record as lacking
 authentication and admissibility, is rich. (Dk. 43, 4, lines 17-18, Dk. 43, 5, lines
 17-18, respectively).
 Lastly, every paper filed in this Court is with the Plaintiff’s declaration that under
 penalty of perjury of the laws of the United States of America that the contents
 thereof are true. (Emphasis added).


 THEREFORE, Plaintiff respectfully requests that a deposit and distribution of
 interest pursuant to 40 U.S.C. § 3116(a)(2) in an amount to be appropriately
 determined by the Court.




 “I declare (or certify, verify, or state) under penalty of perjury under the laws of the
 United States of America that the foregoing is true and correct.”




 Clinton Brown                                              04/06/2023


                   PLAINTIFF’S REPLY TO DEFENDANT’S OPPOSITION TO
                        MOTION FOR DEPOSIT AND DISTRIBUTION
